     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 1 of 27 Page ID #:14



1    TRACY L. WILKISON                                                 10/29/2021
     Acting United States Attorney
2    SCOTT M. GARRINGER                                                   DTA

     Assistant United States Attorney
3    Chief, Criminal Division
     BRADLEY E. MARRETT (Cal. Bar No. 288079)
4    Assistant United States Attorney
     Santa Ana Branch Office
5         8000 United States Courthouse
          411 West Fourth Street
6         Santa Ana, California 92701
          Telephone: (714) 338-3505
7         Facsimile: (714) 338-3561
          E-mail:    bradley.marrett@usdoj.gov
8

9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,               No. 8:21-cr-00198-DSF

14             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             LOUIS ZIMMERLE
15                   v.

16   LOUIS ZIMMERLE,

17             Defendant.

18
19        1.   This constitutes the plea agreement between LOUIS ZIMMERLE
20   (“defendant”) and the United States Attorney’s Office for the Central
21   District of California (“the USAO”) in the above-captioned case.
22   This agreement is limited to the USAO and cannot bind any other
23   federal, state, local, or foreign prosecuting, enforcement,
24   administrative, or regulatory authorities.
25                             DEFENDANT’S OBLIGATIONS
26        2.   Defendant agrees to:
27             a.    Give up the right to indictment by a grand jury and,
28   at the earliest opportunity requested by the USAO and provided by the
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 2 of 27 Page ID #:15



1    Court, appear and plead guilty to a single-count information in the

2    form attached to this agreement as Exhibit A or a substantially

3    similar form, which charges defendant with Wire Fraud in violation of

4    18 U.S.C. § 1343.

5              b.    Not contest facts agreed to in this agreement.

6              c.    Abide by all agreements regarding sentencing contained

7    in this agreement.

8              d.    Appear for all court appearances, surrender as ordered

9    for service of sentence, obey all conditions of any bond, and obey

10   any other ongoing court order in this matter.

11             e.    Not commit any crime; however, offenses that would be

12   excluded for sentencing purposes under United States Sentencing

13   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

14   within the scope of this agreement.

15             f.    Be truthful at all times with the United States

16   Probation and Pretrial Services Office and the Court.

17             g.    Pay the applicable special assessments at or before

18   the time of sentencing unless defendant has demonstrated a lack of

19   ability to pay such assessments.

20             h.    Defendant agrees that any and all criminal debt

21   ordered by the Court will be due in full and immediately.          The

22   government is not precluded from pursuing, in excess of any payment

23   schedule set by the Court, any and all available remedies by which to

24   satisfy defendant’s payment of the full financial obligation,

25   including referral to the Treasury Offset Program.

26             i.    Complete the Financial Disclosure Statement on a form

27   provided by the USAO and, within 30 days of defendant’s entry of a

28   guilty plea, deliver the signed and dated statement, along with all

                                          2
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 3 of 27 Page ID #:16



1    of the documents requested therein, to the USAO by either email at

2    usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

3    Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

4    Angeles, CA 90012.    Defendant agrees that defendant’s ability to pay

5    criminal debt shall be assessed based on the completed Financial

6    Disclosure Statement and all required supporting documents, as well

7    as other relevant information relating to ability to pay.

8              j.    Authorize the USAO to obtain a credit report upon

9    returning a signed copy of this plea agreement.

10             k.    Consent to the USAO inspecting and copying all of

11   defendant’s financial documents and financial information held by the

12   United States Probation and Pretrial Services Office.

13        3.   Defendant further agrees:

14             a.    To forfeit all right, title, and interest in and to

15   any and all monies, properties, and/or assets of any kind, derived

16   from or acquired as a result of, or used to facilitate the commission

17   of, or involved in the illegal activity to which defendant is

18   pleading guilty, specifically including, but not limited to, the

19   following (collectively, the Forfeitable Assets”):

20                   i.    Approximately $5,731.67 in bank funds seized on

21   or about August 4, 2021, from a Chase Bank account ending in 7695, in

22   the name of BNZ One Capital LLC.

23                   ii.   Approximately $309,069.96 in bank funds seized on

24   or about August 4, 2021, from a Chase Bank account ending in 2566, in

25   the name of BNZ One Capital LLC.

26                   iii. Approximately $304.84 in bank funds seized on or

27   about August 4, 2021, from a Chase Bank account ending in 6318, in

28   the name of BNZ One Capital LLC.

                                          3
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 4 of 27 Page ID #:17



1                    iv.     Approximately $250.00 in bank funds seized on or

2    about August 4, 2021, from a Chase Bank account ending in 6359, in

3    the name of BNZ One Capital LLC.

4                    v.      The property commonly known as 506 3rd Street,

5    Galt, California 95632-1817, with APN 150-0244-003-0000, titled in

6    the names of C&G LLC and BNZ One Capital LLC.

7                    vi.     The property commonly known as 2709 Starbird

8    Drive, Costa Mesa, California 92626-4800, with APN 420-021-04, titled

9    in the names of Brett Barber, Melony Barber, and The Barber Family

10   Trust.

11                   vii. The property commonly known as Lot 17, Midway

12   Avenue, Galt, California 95632, with APN 148-0064-004-0000, titled in

13   the names of Ernest Leroy Long and BNZ One Capital LLC.

14                   viii.        The property commonly known as Lot 2,

15   Palmdale Boulevard Vic 42nd South, Palmdale, California 93552, with

16   APN 3023-003-038, titled in the names if C&G LLC and BNZ One Capital

17   LLC.

18                   ix.     The property commonly known as Lot 15, Spring

19   Street, Galt, California 95632, with APN 148-0064-002-0000, titled in

20   the name of BNZ One Capital LLC.

21                   x.      The property commonly known as Lot 16, Spring

22   Street, Galt, California 95632, with APN 148-0064-003-0000, titled in

23   the name of BNZ One Capital LLC.

24             b.    To the Court’s entry of an order of forfeiture at or

25   before sentencing with respect to the Forfeitable Assets and to the

26   forfeiture of the assets.

27             c.    To take whatever steps are necessary to pass to the

28   United States clear title to the Forfeitable Assets, including,

                                          4
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 5 of 27 Page ID #:18



1    without limitation, the execution of a consent decree of forfeiture

2    and the completing of any other legal documents required for the

3    transfer of title to the United States.

4                d.   Not to contest any administrative forfeiture

5    proceedings or civil judicial proceedings commenced against the

6    Forfeitable Assets.    If defendant submitted a claim and/or petition

7    for remission for all or part of the Forfeitable Assets on behalf of

8    himself or any other individual or entity, defendant shall and hereby

9    does withdraw any such claims or petitions, and further agrees to

10   waive any right he may have to seek remission or mitigation of the

11   forfeiture of the Forfeitable Assets.

12               e.   Not to assist any other individual in any effort

13   falsely to contest the forfeiture of the Forfeitable Assets.

14               f.   Not to claim that reasonable cause to seize the

15   Forfeitable Assets was lacking.

16               g.   To prevent the transfer, sale, destruction, or loss of

17   any and all assets described above to the extent defendant has the

18   ability to do so.

19               h.   To fill out and deliver to the USAO a completed

20   financial statement listing defendant’s assets on a form provided by

21   the USAO.

22               i.   That forfeiture of the Forfeitable Assets shall not be

23   counted toward satisfaction of any special assessment, fine,

24   restitution, costs, or other penalty the Court may impose.

25        4.     With respect to any criminal forfeiture ordered as a result

26   of this plea agreement, defendant waives: (1) the requirements of

27   Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice

28   of the forfeiture in the charging instrument, announcements of the

                                          5
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 6 of 27 Page ID #:19



1    forfeiture at sentencing, and incorporation of the forfeiture in the

2    judgment; (2) all constitutional and statutory challenges to the

3    forfeiture (including by direct appeal, habeas corpus, or any other

4    means); and (3) all constitutional, legal, and equitable defenses to

5    the forfeiture of the Forfeitable Assets in any proceeding on any

6    grounds including, without limitation that the forfeiture constitutes

7    an excessive fine or punishment.         Defendant acknowledges that

8    forfeiture of the Forfeitable Assets is part of the sentence that may

9    be imposed in this case and waives any failure by the Court to advise

10   defendant of this, pursuant to Federal Rule of Criminal Procedure

11   11(b)(1)(J), at the time the Court accepts defendant’s guilty plea.

12        5.   Defendant further agrees to cooperate fully with the USAO,

13   the Federal Bureau of Investigation, and, as directed by the USAO,

14   any other federal, state, local, or foreign prosecuting, enforcement,

15   administrative, or regulatory authority.         This cooperation requires

16   defendant to:

17             a.    Respond truthfully and completely to all questions

18   that may be put to defendant, whether in interviews, before a grand

19   jury, or at any trial or other court proceeding.

20             b.    Attend all meetings, grand jury sessions, trials or

21   other proceedings at which defendant’s presence is requested by the

22   USAO or compelled by subpoena or court order.

23             c.    Produce voluntarily all documents, records, or other

24   tangible evidence relating to matters about which the USAO, or its

25   designee, inquires.

26        6.   For purposes of this agreement: (1) “Cooperation

27   Information” shall mean any statements made, or documents, records,

28   tangible evidence, or other information provided, by defendant

                                          6
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 7 of 27 Page ID #:20



1    pursuant to defendant’s cooperation under this agreement or pursuant

2    to the letter agreement previously entered into by the parties dated

3    August 5, 2021 (the “Letter Agreement”); and (2) “Plea Information”

4    shall mean any statements made by defendant, under oath, at the

5    guilty plea hearing and the agreed to factual basis statement in this

6    agreement.

7                              THE USAO’S OBLIGATIONS

8         7.   The USAO agrees to:

9              a.    Not contest facts agreed to in this agreement.

10             b.    Abide by all agreements regarding sentencing contained

11   in this agreement.

12             c.    At the time of sentencing, provided that defendant

13   demonstrates an acceptance of responsibility for the offenses up to

14   and including the time of sentencing, recommend a two-level reduction

15   in the applicable Sentencing Guidelines offense level, pursuant to

16   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

17   additional one-level reduction if available under that section.

18             d.    Except for criminal tax violations (including

19   conspiracy to commit such violations chargeable under 18 U.S.C.

20   § 371), not further criminally prosecute defendant for violations of

21   18 U.S.C. § 1343 arising out of false statements and representations

22   made to victim Zhaohui “Zoey” Yu relating to the solicitation of

23   $500,000 purportedly for real estate investments outside of BNZ

24   Capital One, LLC, but which, in fact, were used, in part, by

25   defendant ZIMMERLE to renovate his personal residence.          Defendant

26   understands that the USAO is free to criminally prosecute defendant

27   for any other unlawful past conduct or any unlawful conduct that

28   occurs after the date of this agreement.        Defendant agrees that at

                                          7
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 8 of 27 Page ID #:21



1    the time of sentencing the Court may consider the uncharged conduct

2    in determining the applicable Sentencing Guidelines range, the

3    propriety and extent of any departure from that range, and the

4    sentence to be imposed after consideration of the Sentencing

5    Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).

6    Defendant further agrees that at the time of sentencing the Court may

7    award restitution to victim Zhaohui “Zoey” Yu in the amount of

8    $300,000.

9                e.   Recommend that defendant be sentenced to a term of

10   imprisonment no higher than the low end of the applicable Sentencing

11   Guidelines range, provided that the offense level used by the Court

12   to determine that range is 20 or higher and provided that the Court

13   does not depart downward in offense level or criminal history

14   category.    For purposes of this agreement, the low end of the

15   Sentencing Guidelines range is that defined by the Sentencing Table

16   in U.S.S.G. Chapter 5, Part A, without regard to reductions in the

17   term of imprisonment that may be permissible through the substitution

18   of community confinement or home detention as a result of the offense

19   level falling within Zone B or Zone C of the Sentencing Table.

20        8.     The USAO further agrees:

21               a.   Not to offer as evidence in its case-in-chief in the

22   above-captioned case or any other criminal prosecution that may be

23   brought against defendant by the USAO, or in connection with any

24   sentencing proceeding in any criminal case that may be brought

25   against defendant by the USAO, any Cooperation Information.

26   Defendant agrees, however, that the USAO may use both Cooperation

27   Information and Plea Information: (1) to obtain and pursue leads to

28   other evidence, which evidence may be used for any purpose, including

                                          8
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 9 of 27 Page ID #:22



1    any criminal prosecution of defendant; (2) to cross-examine defendant

2    should defendant testify, or to rebut any evidence offered, or

3    argument or representation made, by defendant, defendant’s counsel,

4    or a witness called by defendant in any trial, sentencing hearing, or

5    other court proceeding; and (3) in any criminal prosecution of

6    defendant for false statement, obstruction of justice, or perjury.

7              b.    Not to use Cooperation Information against defendant

8    at sentencing for the purpose of determining the applicable guideline

9    range, including the appropriateness of an upward departure, or the

10   sentence to be imposed, and to recommend to the Court that

11   Cooperation Information not be used in determining the applicable

12   guideline range or the sentence to be imposed.         Defendant

13   understands, however, that Cooperation Information will be disclosed

14   to the United States Probation and Pretrial Services Office and the

15   Court, and that the Court may use Cooperation Information for the

16   purposes set forth in U.S.S.G § 1B1.8(b) and for determining the

17   sentence to be imposed.

18             c.    In connection with defendant’s sentencing, to bring to

19   the Court’s attention the nature and extent of defendant’s

20   cooperation.

21             d.    If the USAO determines, in its exclusive judgment,

22   that defendant has both complied with defendant’s obligations under

23   paragraphs 2, 3, 4, and 5 above and provided substantial assistance

24   to law enforcement in the prosecution or investigation of another

25   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

26   § 5K1.1 to fix an offense level and corresponding guideline range

27   below that otherwise dictated by the sentencing guidelines, and to

28   recommend a term of imprisonment within this reduced range.

                                          9
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 10 of 27 Page ID #:23



1                DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

2         9.    Defendant understands the following:

3               a.    Any knowingly false or misleading statement by

4    defendant will subject defendant to prosecution for false statement,

5    obstruction of justice, and perjury and will constitute a breach by

6    defendant of this agreement.

7               b.    Nothing in this agreement requires the USAO or any

8    other prosecuting, enforcement, administrative, or regulatory

9    authority to accept any cooperation or assistance that defendant may

10   offer, or to use it in any particular way.

11              c.    Defendant cannot withdraw defendant’s guilty plea if

12   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a

13   reduced guideline range or if the USAO makes such a motion and the

14   Court does not grant it or if the Court grants such a USAO motion but

15   elects to sentence above the reduced range.

16              d.    At this time the USAO makes no agreement or

17   representation as to whether any cooperation that defendant has

18   provided or intends to provide constitutes or will constitute

19   substantial assistance.     The decision whether defendant has provided

20   substantial assistance will rest solely within the exclusive judgment

21   of the USAO.

22              e.    The USAO’s determination whether defendant has

23   provided substantial assistance will not depend in any way on whether

24   the government prevails at any trial or court hearing in which

25   defendant testifies or in which the government otherwise presents

26   information resulting from defendant’s cooperation.

27

28

                                          10
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 11 of 27 Page ID #:24



1                               NATURE OF THE OFFENSE

2         10.   Defendant understands that for defendant to be guilty of

3    the crime charged in the single-count information, that is, Wire

4    Fraud, in violation of Title 18, United States Code, Section 1343,

5    the following must be true: (1) defendant knowingly participated in a

6    scheme or plan to defraud, or a scheme or plan for obtaining money or

7    property by means of false or fraudulent pretenses, representations,

8    or promises; (2) the statements made or facts omitted as part of the

9    scheme were material; that is, they had a natural tendency to

10   influence, or were capable of influencing, a person to part with

11   money or property; (3) defendant acted with the intent to defraud;

12   that is, the intent to deceive and cheat; and (4) defendant used, or

13   caused to be used, an interstate or foreign wire communication to

14   carry out or attempt to carry out an essential part of the scheme.

15                            PENALTIES AND RESTITUTION

16        11.   Defendant understands that the statutory maximum sentence

17   that the Court can impose for each violation of Title 18, United

18   States Code, Section 1343, is: 20 years’ imprisonment; a 3-year
19   period of supervised release; a fine of $250,000 or twice the gross

20   gain or gross loss resulting from the offense, whichever is greatest;

21   and a mandatory special assessment of $100.

22        12.   Defendant understands that defendant will be required to

23   pay full restitution to the victim(s) of the offenses to which

24   defendant is pleading guilty.      Defendant agrees that, in return for

25   the USAO’s compliance with its obligations under this agreement, the

26   Court may order restitution to persons other than the victim(s) of

27   the offenses to which defendant is pleading guilty and in amounts

28   greater than those alleged in the count to which defendant is

                                          11
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 12 of 27 Page ID #:25



1    pleading guilty.    In particular, defendant agrees that the Court may

2    order restitution to any victim of any of the following for any

3    losses suffered by that victim as a result: (a) any relevant conduct,

4    as defined in U.S.S.G. § 1B1.3, in connection with the offense to

5    which defendant is pleading guilty; and (b) any charge not prosecuted

6    pursuant to this agreement as well as all relevant conduct, as

7    defined in U.S.S.G. § 1B1.3, in connection with that charge.           The

8    parties currently believe that the applicable amount of restitution

9    is at least approximately $882,815.11, including $300,000 owed to

10   victim Zhaohui “Zoey” Yu, but recognize and agree that this amount

11   could change based on facts that come to the attention of the parties

12   prior to sentencing.

13        13.   Defendant understands that supervised release is a period

14   of time following imprisonment during which defendant will be subject

15   to various restrictions and requirements.        Defendant understands that

16   if defendant violates one or more of the conditions of any supervised

17   release imposed, defendant may be returned to prison for all or part

18   of the term of supervised release authorized by statute for the

19   offense that resulted in the term of supervised release, which could

20   result in defendant serving a total term of imprisonment greater than

21   the statutory maximum stated above.

22        14.   Defendant understands that, by pleading guilty, defendant

23   may be giving up valuable government benefits and valuable civic

24   rights, such as the right to vote, the right to possess a firearm,

25   the right to hold office, and the right to serve on a jury.

26   Defendant understands that he is pleading guilty to a felony and that

27   it is a federal crime for a convicted felon to possess a firearm or

28   ammunition.   Defendant understands that the convictions in this case

                                          12
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 13 of 27 Page ID #:26



1    may also subject defendant to various other collateral consequences,

2    including but not limited to revocation of probation, parole, or

3    supervised release in another case and suspension or revocation of a

4    professional license.     Defendant understands that unanticipated

5    collateral consequences will not serve as grounds to withdraw

6    defendant’s guilty plea.

7         15.   Defendant and his counsel have discussed the fact that, and

8    defendant understands that, if defendant is not a United States

9    citizen, the convictions in this case makes it practically inevitable

10   and a virtual certainty that defendant will be removed or deported

11   from the United States.     Defendant may also be denied United States

12   citizenship and admission to the United States in the future.

13   Defendant understands that while there may be arguments that

14   defendant can raise in immigration proceedings to avoid or delay

15   removal, removal is presumptively mandatory and a virtual certainty

16   in this case.    Defendant further understands that removal and

17   immigration consequences are the subject of a separate proceeding and

18   that no one, including his attorney or the Court, can predict to an

19   absolute certainty the effect of his convictions on his immigration

20   status.    Defendant nevertheless affirms that he wants to plead guilty

21   regardless of any immigration consequences that his plea may entail,

22   even if the consequence is automatic removal from the United States.

23                                   FACTUAL BASIS

24        16.   Defendant admits that defendant is, in fact, guilty of the

25   offenses to which defendant is agreeing to plead guilty.           Defendant

26   and the USAO agree to the statement of facts provided below and agree

27   that this statement of facts is sufficient to support a plea of

28   guilty to the charge described in this agreement and to establish the

                                          13
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 14 of 27 Page ID #:27



1    Sentencing Guidelines factors set forth in paragraph 18 below but is

2    not meant to be a complete recitation of all facts relevant to the

3    underlying criminal conduct or all facts known to either party that

4    relate to that conduct.

5         Beginning no later than February 2020 and continuing to at least

6    March 2021, in Newport Beach, California, within the Central District

7    of California, defendant LOUIS ZIMMERLE participated in and aided and

8    abetted Co-Schemer 1 in a scheme to defraud victims of their money or

9    property.   The scheme was carried out through a company known as BNZ

10   CAPITAL ONE, LLC (“BNZ CAPITAL”).         In the course of the scheme, BNZ

11   CAPITAL raised approximately $13.8 million from investors.           For his

12   part, defendant ZIMMERLE directly or indirectly raised at least

13   $1,608,368.76 from investors Z.Y., L.L., L.S., P.P., M.M., and N.G.,

14   among others.    Defendant ZIMMERLE admits that as a result he caused a

15   loss of at least $550,000.

16        In general, the scheme operated as follows.         ZIMMERLE and Co-

17   Schemer 1 represented to potential investors that BNZ CAPITAL was in

18   the business of buying real estate and would generate returns to

19   investors by flipping properties (i.e., purchasing real estate at

20   below market value, improving the real estate, and selling it for a

21   profit) or developing properties (i.e., purchasing unimproved real

22   estate, developing it, and selling developed parcels for a profit).

23   Each potential investor was provided a “Lender/Investor’s Statement

24   Agreement,” which represented, among other things, that BNZ CAPITAL

25   would pay interest to investors, ranging from 8% for some investors

26   to 10% for others.

27        While BNZ CAPITAL did use some investor money for purchasing

28   real estate, BNZ CAPITAL never generated revenues or profits

                                          14
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 15 of 27 Page ID #:28



1    sufficient to make payments promised to investors.          By no later than

2    February 2020, ZIMMERLE knew that BNZ CAPITAL was defrauding

3    investors; that is, BNZ CAPITAL was repaying earlier investors with

4    money solicited from new investors, and not from business revenues or

5    profits.   Yet, ZIMMERLE and Co-Schemer 1 continued to solicit new

6    investors to invest in BNZ CAPITAL.       At no time did ZIMMERLE or Co-

7    Schemer 1 tell new investors that their investments would be used to

8    repay older investors.     ZIMMERLE and Co-Schemer 1 also did not

9    disclose to victims that their money would be used for other

10   purposes, such as paying commissions and other monies to ZIMMERLE and

11   Co-Schemer 1 and purchasing a personal residence for ZIMMERLE and a

12   personal residence for Co-Schemer 1.       The false and misleading

13   statements to victims about how their money would be used were

14   material; none of the victims would have parted with their money or

15   property had they known that they were going to be repaid with new

16   investor money, rather than business-generated revenues; that Co-

17   Schemer 1 and ZIMMERLE would be using a substantial portion of

18   investor money to pay themselves; or that Co-Schemer 1 and ZIMMERLE

19   would be using investor money to purchase personal residences.

20        In carrying out this scheme, defendant ZIMMERLE admits that he

21   acted with the intent to defraud; that is, the intent to deceive and

22   cheat the victim investors.      Defendant ZIMMERLE further admits that

23   in executing the scheme he used or caused to be used interstate wires

24   to carry out the transfer of the following funds on or about April

25   23, 2020: $89,500 from victim P.P.        Defendant ZIMMERLE further admits

26   that he received and kept approximately $582,815.11 of investor money

27   for his personal gain, comprising, among other things, salary and

28   undisclosed commissions received from BNZ CAPITAL.

                                          15
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 16 of 27 Page ID #:29



1                                 SENTENCING FACTORS

2         17.   Defendant understands that in determining defendant’s

3    sentence the Court is required to calculate the applicable Sentencing

4    Guidelines range and to consider that range, possible departures

5    under the Sentencing Guidelines, and the other sentencing factors set

6    forth in 18 U.S.C. § 3553(a).      Defendant understands that the

7    Sentencing Guidelines are advisory only, that defendant cannot have

8    any expectation of receiving a sentence within the calculated

9    Sentencing Guidelines range, and that after considering the

10   Sentencing Guidelines and the other § 3553(a) factors, the Court will

11   be free to exercise its discretion to impose any sentence it finds

12   appropriate up to the maximum set by statute for the crimes of

13   conviction.

14        18.   Defendant and the USAO agree to the following applicable

15   Sentencing Guidelines factors:

16      Base Offense Level:                    7        U.S.S.G. § 2B1.1(a)(2)

17      Minor Role                          -2                 U.S.S.G. § 3B1.2

18
19   Defendant and the USAO agree that the loss amount for purposes of the

20   Sentencing Guidelines is no less than $550,000.         The USAO reserves

21   the right to argue that the loss amount for purposes of the

22   Sentencing Guidelines is between $550,000 and $1,608,368.76.

23   Defendant and the USAO reserve the right to argue that additional

24   specific offense characteristics, adjustments, and departures under

25   the Sentencing Guidelines are appropriate, including the specific

26   offense characteristic in U.S.S.G. § 2B1.1(b)(2)(A)(i).

27        19.   Defendant understands that there is no agreement as to

28   defendant’s criminal history or criminal history category.

                                          16
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 17 of 27 Page ID #:30



1         20.   Defendant and the USAO reserve the right to argue for a

2    sentence outside the sentencing range established by the Sentencing

3    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

4    (a)(2), (a)(3), (a)(6), and (a)(7).

5                          WAIVER OF CONSTITUTIONAL RIGHTS

6         21.   Defendant understands that by pleading guilty, defendant

7    gives up the following rights:

8               a.    The right to persist in a plea of not guilty.

9               b.    The right to a speedy and public trial by jury.

10              c.    The right to be represented by counsel – and if

11   necessary have the Court appoint counsel - at trial.          Defendant

12   understands, however, that, defendant retains the right to be

13   represented by counsel – and if necessary have the Court appoint

14   counsel – at every other stage of the proceeding.

15              d.    The right to be presumed innocent and to have the

16   burden of proof placed on the government to prove defendant guilty

17   beyond a reasonable doubt.

18              e.    The right to confront and cross-examine witnesses

19   against defendant.

20              f.    The right to testify and to present evidence in

21   opposition to the charges, including the right to compel the

22   attendance of witnesses to testify.

23              g.    The right not to be compelled to testify, and, if

24   defendant chose not to testify or present evidence, to have that

25   choice not be used against defendant.

26              h.    Any and all rights to pursue any affirmative defenses,

27   Fourth Amendment or Fifth Amendment claims, and other pretrial

28   motions that have been filed or could be filed.

                                          17
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 18 of 27 Page ID #:31



1                                   WAIVER OF VENUE

2         22.   Having been fully advised by defendant’s attorney regarding

3    the requirements of venue with respect to the offenses to which

4    defendant is pleading guilty, to the extent the offenses to which

5    defendant is pleading guilty were committed, begun, or completed

6    outside the Central District of California, defendant knowingly,

7    voluntarily, and intelligently waives, relinquishes, and gives up:

8    (a) any right that defendant might have to be prosecuted only in the

9    district where the offenses to which defendant is pleading guilty

10   were committed, begun, or completed; and (b) any defense, claim, or

11   argument defendant could raise or assert based upon lack of venue

12   with respect to the offenses to which defendant is pleading guilty.

13                         WAIVER OF APPEAL OF CONVICTION

14        23.   Defendant understands that, with the exception of an appeal

15   based on a claim that defendant’s guilty plea was involuntary, by

16   pleading guilty defendant is waiving and giving up any right to

17   appeal defendant’s convictions on the offenses to which defendant is

18   pleading guilty.    Defendant understands that this waiver includes,
19   but is not limited to, arguments that the statute to which defendant

20   is pleading guilty is unconstitutional, and any and all claims that

21   the statement of facts provided herein is insufficient to support

22   defendant’s plea of guilty.

23                  LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

24        24.   Defendant agrees that, provided the Court imposes a term of

25   imprisonment within or below the range corresponding to an offense

26   level of 20 and the criminal history category calculated by the

27   Court, defendant gives up the right to appeal all of the following:

28   (a) the procedures and calculations used to determine and impose any

                                          18
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 19 of 27 Page ID #:32



1    portion of the sentence; (b) the term of imprisonment imposed by the

2    Court; (c) the fine imposed by the Court, provided it is within the

3    statutory maximum; (d) to the extent permitted by law, the

4    constitutionality or legality of defendant’s sentence, provided it is

5    within the statutory maximum; (e) the amount and terms of any

6    restitution order, provided it requires payment of no more than

7    $882,815.11; (f) the term of probation or supervised release imposed

8    by the Court, provided it is within the statutory maximum; and

9    (g) any of the following conditions of probation or supervised

10   release imposed by the Court: the conditions set forth in Second

11   Amended General Order 20-04 of this Court; the drug testing

12   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the

13   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

14        25.   The USAO agrees that, provided (a) all portions of the

15   sentence are at or below the statutory maximum specified above and

16   (b) the Court imposes a term of imprisonment within or above the

17   range corresponding to an offense level of 20 and the criminal

18   history category calculated by the Court, the USAO gives up its right

19   to appeal any portion of the sentence, with the exception that the

20   USAO reserves the right to appeal the following: the amount of

21   restitution ordered if that amount is less than $882,815.11.

22                      RESULT OF WITHDRAWAL OF GUILTY PLEA

23        26.   Defendant agrees that if, after entering guilty plea

24   pursuant to this agreement, defendant seeks to withdraw and succeeds

25   in withdrawing defendant’s guilty plea on any basis other than a

26   claim and finding that entry into this plea agreement was

27   involuntary, then (a) the USAO will be relieved of all of its

28   obligations under this agreement, including in particular its

                                          19
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 20 of 27 Page ID #:33



1    obligations regarding the use of Cooperation Information; (b) in any

2    investigation, criminal prosecution, or civil, administrative, or

3    regulatory action, defendant agrees that any Cooperation Information

4    and any evidence derived from any Cooperation Information shall be

5    admissible against defendant, and defendant will not assert, and

6    hereby waives and gives up, any claim under the United States

7    Constitution, any statute, or any federal rule, that any Cooperation

8    Information or any evidence derived from any Cooperation Information

9    should be suppressed or is inadmissible; and (c) should the USAO

10   choose to pursue any charge that was either dismissed or not filed as

11   a result of this agreement, then (i) any applicable statute of

12   limitations will be tolled between the date of defendant’s signing of

13   this agreement and the filing commencing any such action; and

14   (ii) defendant waives and gives up all defenses based on the statute

15   of limitations, any claim of pre-indictment delay, or any speedy

16   trial claim with respect to any such action, except to the extent

17   that such defenses existed as of the date of defendant’s signing this

18   agreement.

19                           EFFECTIVE DATE OF AGREEMENT

20        27.   This agreement is effective upon signature and execution of

21   all required certifications by defendant, defendant’s counsel, and an

22   Assistant United States Attorney.

23                                BREACH OF AGREEMENT

24        28.   Defendant agrees that if defendant, at any time after the

25   signature of this agreement and execution of all required

26   certifications by defendant, defendant’s counsel, and an Assistant

27   United States Attorney, knowingly violates or fails to perform any of

28   defendant’s obligations under this agreement (“a breach”), the USAO

                                          20
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 21 of 27 Page ID #:34



1    may declare this agreement breached.       For example, if defendant

2    knowingly, in an interview, before a grand jury, or at trial, falsely

3    accuses another person of criminal conduct or falsely minimizes

4    defendant’s own role, or the role of another, in criminal conduct,

5    defendant will have breached this agreement.         All of defendant’s

6    obligations are material, a single breach of this agreement is

7    sufficient for the USAO to declare a breach, and defendant shall not

8    be deemed to have cured a breach without the express agreement of the

9    USAO in writing.    If the USAO declares this agreement breached, and

10   the Court finds such a breach to have occurred, then:

11              a.    If defendant has previously entered a guilty plea

12   pursuant to this agreement, defendant will not be able to withdraw

13   the guilty plea.

14              b.    The USAO will be relieved of all its obligations under

15   this agreement; in particular, the USAO: (i) will no longer be bound

16   by any agreements concerning sentencing and will be free to seek any

17   sentence up to the statutory maximum for the crimes to which

18   defendant has pleaded guilty; (ii) will no longer be bound by any

19   agreements regarding criminal prosecution, and will be free to

20   criminally prosecute defendant for any crime, including charges that

21   the USAO would otherwise have been obligated not to criminally

22   prosecute pursuant to this agreement; and (iii) will no longer be

23   bound by any agreement regarding the use of Cooperation Information

24   and will be free to use any Cooperation Information in any way in any

25   investigation, criminal prosecution, or civil, administrative, or

26   regulatory action.

27

28

                                          21
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 22 of 27 Page ID #:35



1               c.    The USAO will be free to criminally prosecute

2    defendant for false statement, obstruction of justice, and perjury

3    based on any knowingly false or misleading statement by defendant.

4               d.    In any investigation, criminal prosecution, or civil,

5    administrative, or regulatory action: (i) defendant will not assert,

6    and hereby waives and gives up, any claim that any Cooperation

7    Information was obtained in violation of the Fifth Amendment

8    privilege against compelled self-incrimination; and (ii) defendant

9    agrees that any Cooperation Information and any Plea Information, as

10   well as any evidence derived from any Cooperation Information or any

11   Plea Information, shall be admissible against defendant, and

12   defendant will not assert, and hereby waives and gives up, any claim

13   under the United States Constitution, any statute, Rule 410 of the

14   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

15   Criminal Procedure, or any other federal rule, that any Cooperation

16   Information, any Plea Information, or any evidence derived from any

17   Cooperation Information or any Plea Information should be suppressed

18   or is inadmissible.

19        29.   Following the Court’s finding of a knowing breach of this

20   agreement by defendant, should the USAO choose to pursue any charge

21   that was either dismissed or not filed as a result of this agreement,

22   then:

23              a.    Defendant agrees that any applicable statute of

24   limitations is tolled between the date of defendant’s signing of this

25   agreement and the filing commencing any such action.

26              b.    Defendant waives and gives up all defenses based on

27   the statute of limitations, any claim of pre-indictment delay, or any

28   speedy trial claim with respect to any such action, except to the

                                          22
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 23 of 27 Page ID #:36



1    extent that such defenses existed as of the date of defendant’s

2    signing this agreement.

3            COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

4                                 OFFICE NOT PARTIES

5         30.   Defendant understands that the Court and the United States

6    Probation and Pretrial Services Office are not parties to this

7    agreement and need not accept any of the USAO’s sentencing

8    recommendations or the parties’ agreements to facts or sentencing

9    factors.

10        31.   Defendant understands that both defendant and the USAO are

11   free to: (a) supplement the facts by supplying relevant information

12   to the United States Probation and Pretrial Services Office and the

13   Court, (b) correct any and all factual misstatements relating to the

14   Court’s Sentencing Guidelines calculations and determination of

15   sentence, and (c) argue on appeal and collateral review that the

16   Court’s Sentencing Guidelines calculations and the sentence it

17   chooses to impose are not error, although each party agrees to

18   maintain its view that the calculations in paragraph 18 are

19   consistent with the facts of this case.        While this paragraph permits

20   both the USAO and defendant to submit full and complete factual

21   information to the United States Probation and Pretrial Services

22   Office and the Court, even if that factual information may be viewed

23   as inconsistent with the facts agreed to in this agreement, this

24   paragraph does not affect defendant’s and the USAO’s obligations not

25   to contest the facts agreed to in this agreement.

26        32.   Defendant understands that even if the Court ignores any

27   sentencing recommendation, finds facts or reaches conclusions

28   different from those agreed to, and/or imposes any sentence up to the

                                          23
     Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 24 of 27 Page ID #:37



1    maximum established by statute, defendant cannot, for that reason,

2    withdraw defendant’s guilty plea, and defendant will remain bound to

3    fulfill all defendant’s obligations under this agreement.           Defendant

4    understands that no one –- not the prosecutor, defendant’s attorney,

5    or the Court –- can make a binding prediction or promise regarding

6    the sentence defendant will receive, except that it will be within

7    the statutory maximum.

8                              NO ADDITIONAL AGREEMENTS

9          33.   Defendant understands that, except as set forth herein,

10   there are no promises, understandings, or agreements between the USAO

11   and defendant or defendant’s attorney, and that no additional

12   promise, understanding, or agreement may be entered into unless in a

13   writing signed by all parties or on the record in court.

14   ///

15   ///

16   ///

17   ///

18   ///

19                PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

20         34.   The parties agree that this agreement will be considered

21   part of the record of defendant’s guilty plea hearing as if the

22   entire agreement had been read into the record of the proceeding.

23    AGREED AND ACCEPTED

24    UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF
25    CALIFORNIA

26    TRACY L. WILKISON
      Acting United States Attorney
27

28

                                          24
Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 25 of 27 Page ID #:38




                                                 10/28/21
Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 26 of 27 Page ID #:39
Case 8:21-cr-00198-ODW Document 6 Filed 10/29/21 Page 27 of 27 Page ID #:40
